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                                  12                                  UNITED STATES DISTRICT COURT
Northern District of California
 United States District Court




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                                                                     NORTHERN DISTRICT OF CALIFORNIA
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                                  16   UNITED STATES OF AMERICA,
                                  17                    Plaintiff,                          No. CR 14-00175 WHA

                                  18            v.

                                  19   PACIFIC GAS AND ELECTRIC                             ORDER TO SHOW CAUSE WHY
                                       COMPANY,                                             FURTHER CONDITION OF
                                  20                                                        PROBATION SHOULD NOT BE
                                                        Defendant.                          IMPOSED
                                  21

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                                  23         In reviewing PG&E’s submissions, the Court has come to suspect that PG&E has been

                                  24   narrowly interpreting Section 4293 of the California Public Resources Code to exclude any

                                  25   healthy tree from Section 4293’s scope on hazard trees. Specifically, Section 4293 provides

                                  26   that during the wildfire season, those maintaining “electricity transmission or distribution

                                  27   line[s]” shall

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                                                   maintain a clearance of the respective distances which are specified
                                   1               in this section in all directions between all vegetation and all
                                   2               conductors which are carrying electric current:

                                   3                       (a) For any line which is operating at 2,400 or more
                                                           volts, but less than 72,000 volts, four feet.
                                   4
                                                           (b) For any line which is operating at 72,000 or more
                                   5
                                                           volts, but less than 110,000 volts, six feet.
                                   6
                                                           (c) For any line which is operating at 110,000 or more
                                   7                       volts, 10 feet.

                                   8               In every case, such distance shall be sufficiently great to furnish the
                                                   required clearance at any position of the wire, or conductor when the
                                   9
                                                   adjacent air temperature is 120 degrees Fahrenheit, or less. Dead
                                  10               trees, old decadent or rotten trees, trees weakened by decay or
                                                   disease and trees or portions thereof that are leaning toward the line
                                  11               which may contact the line from the side or may fall on the line shall
                                                   be felled, cut, or trimmed so as to remove such hazard.
                                  12
Northern District of California
 United States District Court




                                  13   In a filing herein dated February 6, 2019 (Dkt. No. 1012), Cal FIRE and the California
                                  14   Attorney General stated that Section 4293 (emphasis added):
                                  15
                                                   means that a tree or portion thereof, that is leaning toward the line,
                                  16               must be “felled, cut or trimmed,” regardless of its health, if it “may
                                                   contact the line from the side or may fall on the line.” Id. Section
                                  17               4293 requires utilities to identify and remove such hazards.
                                  18
                                       Recent submissions by PG&E leave doubt that PG&E accepts Cal FIRE and the California
                                  19
                                       Attorney General’s statements of what Section 4293 requires. Therefore, PG&E is ordered to
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                                       show cause why the further Condition of Probation No. 1 should not be amended to add the
                                  21
                                       following (Dkt. No. 1040):
                                  22

                                  23               PG&E shall identify and remove any tree or portion thereof leaning
                                                   toward any distribution line if it may contact the line from the side or
                                  24               fall on the line and must do so regardless of the health of the tree.
                                                   PG&E shall so affirmatively instruct in writing all its personnel and
                                  25               contractors and incorporate the same in its training and instruction
                                                   materials.
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                                   1   PG&E’s response to the order to show cause is due MARCH 4 AT NOON. Any response by

                                   2   Amici and the United States shall be due MARCH 11 AT NOON. PG&E shall reply, if at all, by

                                   3   MARCH 17 AT NOON. The hearing shall be MARCH 23 AT 8:00 A.M. by Zoom.

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                                   6        IT IS SO ORDERED.

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                                   8   Dated: February 18, 2021.

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                                                                                           WILLIAM ALSUP
                                  11                                                       UNITED STATES DISTRICT JUDGE
                                  12
Northern District of California
 United States District Court




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